Case 1:14-cr-00344-AT-CMS Document 421 Filed 07/06/15 Page 1 of 12
     Case 1:14-cr-00344-AT-CMS Document 421 Filed 07/06/15 Page 2 of 12




seventeen (17) counts of stealing and cashing US Treasury checks (Counts 2-19),

and ten (10) counts of aggravated identity theft (Counts 20-30).1

      On September 23, 2014, Magistrate Judge Linda T. Walker authorized an

Amended Application for Search Warrant [291.1] authorizing the search of

specific premises in Atlanta, Georgia (the “Premises”).2 The Amended

Application was supported by the twenty-three (23) page affidavit of Perry

Meador, a Federal Bureau of Investigation Special Agent (the “Affidavit”).

(Meador Aff. [291.1 at 2-19]). Agent Meador executed the Affidavit under oath.

The Affidavit states that the Premises is the residence of Defendant and Hussain,

Fatimah, and Hassan Abdullah. (Aff. ¶ 4). The Affidavit states further that

Defendant and Hussain Abdullah were the targets of a federal investigation of

stolen US Treasury checks, that they directed the stolen check operation, and that

they were indicted for their alleged criminal conduct. (Id.). The Affidavit states

that the Premises is the location at which co-conspirators met, collected and stored

US Treasury checks, divided up proceeds, shared false identification documents

and hid money and firearms. (Id. ¶ 10). It is also the location to which stolen US

1
  Defendant is charged in only some of the US Treasury check theft and aggravated
identity theft counts.
2
  The Premises address is redacted from the Search Warrant and is not further
identified in this Order.


                                         2
     Case 1:14-cr-00344-AT-CMS Document 421 Filed 07/06/15 Page 3 of 12




Treasury checks were delivered by runners involved in the organization. (Id.

¶¶ 12, 15, 17. The Affidavit explains that organizations involved in stolen US

Treasury check enterprises use computers and other technology to process stolen

checks and false identification documents. (Id. ¶¶ 22-25).

       The Affidavit provided information about the purchase and storage of

firearms at the Premises by Defendant. (Id. ¶¶ 19-21). The Affidavit listed the

items for which authorization to seize was requested. (Id. at Ex. B [291.1 at

21-25]).

       The Search Warrant [291.2] was executed by law enforcement personnel on

September 24, 2014. A list of the property seized during this search was prepared.

([291.2 at 7]).

      On December 5, 2014, Defendant filed the Motion requesting the Court to

suppress evidence seized from the Premises during the September 24, 2014,

search, on the grounds that the Search Warrant did not sufficiently limit the area to

be searched, that evidence was seized beyond what the Search Warrant allowed,

and that issuance of the Search Warrant was not supported by sufficient probable

cause including because it was based on “stale” information. The Government




                                          3
      Case 1:14-cr-00344-AT-CMS Document 421 Filed 07/06/15 Page 4 of 12




filed its response in opposition to the Motion [324]. Defendant did not file a

reply.3

      The R&R was issued on February 10, 2015. The Magistrate Judge

determined that the Motion and Supplement did not meet the pleading requirement

for a cognizable motion to suppress, that there was probable cause to support

issuance of the Search Warrant, and that the search conducted was proper.

II.   STANDARD OF REVIEW

      After conducting a careful and complete review of the findings and

recommendations, a district judge may accept, reject, or modify a magistrate

judge’s report and recommendation. 28 U.S.C. § 636(b)(1); Fed. R. Crim. P. 59;

Williams v. Wainwright, 681 F.2d 732, 732 (11th Cir. 1982) (per curiam). A

district judge “shall make a de novo determination of those portions of the report or

specified proposed findings or recommendations to which objection is made.”




3
  On December 14, 2014, Defendant filed his one-and-a-half page Supplement,
asserting two broad, conclusory statements: (i) that the Amended Application and
the Search Warrant should be deemed attachments to the Motion, and (ii) that
“[s]uppression of the fruits of the search is proper inasmuch as none of the
circumstances that trigger the good faith exception recognized in United States
v. Leon, 468 U.S. 897 (1984), and its progeny, are applicable here.” (Supplement
at 1-2). The Supplement does not contain any meaningful development of facts or
law.


                                         4
       Case 1:14-cr-00344-AT-CMS Document 421 Filed 07/06/15 Page 5 of 12




28 U.S.C. § 636(b)(1). This requires that the district judge “give fresh

consideration to those issues to which specific objection has been made by a

party.” Jeffrey S. v. State Bd. of Educ. of Ga., 896 F.2d 507, 512 (11th Cir. 1990)

(internal citations omitted). With respect to those findings and recommendations

to which a party has not asserted objections, the Court must conduct a plain error

review of the record. United States v. Slay, 714 F.2d 1093, 1095 (11th Cir. 1983).

Neither Defendant nor the Government filed objections to the R&R and the Court

reviews the findings and recommendation for plain error.4

III.   DISCUSSION

       A.    Pleading Requirements

       A motion to suppress must meet fundamental pleading requirements:

             A motion to suppress must in every critical aspect be sufficiently
             definite, specific, detailed, and nonconjectural to enable the
             court to conclude that a substantial claim is present. In short, the
             motion must allege facts which, if proven, would provide a basis
             for relief. A court need not act upon general or conclusory
             assertions founded on mere suspicion or conjecture, and the
             court has discretion in determining the need for a hearing.

United States v. Richardson, 764 F.2d 1514, 1527 (11th Cir. 1985) (internal

citations omitted). The Motion and Supplement are quintessential conclusory,

4
  The Court reviewed the facts set forth in the R&R and finding no plain error,
adopts the facts stated in the R&R. The Court also has considered other facts in
the record in conducting its plain error review.


                                          5
       Case 1:14-cr-00344-AT-CMS Document 421 Filed 07/06/15 Page 6 of 12




indefinite pleadings that do not provide a basis for relief if proved. There is no

plain error in the Magistrate Judge’s recommendation that the Motion be denied

for this reason alone.

        B.     The Search Warrant and Probable Cause

        Defendant, relying on the Search Warrant itself, the supporting Affidavit,

and an inventory of property seized, argues that the Search Warrant and seizures

made pursuant to it, were overly broad. He argues further that the good faith

exception in United States v. Leon, 468 U.S. 897 (1984), does not apply.5

               1.    Scope of the warrant and seizure

        A reviewing court is not required to conduct a de novo determination of

probable cause, but only to determine whether there is substantial evidence in the

record to support a magistrate judge’s decision to issue the warrant.

Massachusetts v. Upton, 466 U.S. 727, 733 (1984). “We accord great deference to

judicial determination of probable cause to issue a search warrant.”

United States v. Robinson, 62 F.3d 1325, 1331 (11th Cir. 1995) (citing

United States v. Gonzalez, 940 F.2d 1413, 1419 (11th Cir. 1991)). Courts

reviewing search warrants should not interpret supporting affidavits in a

hyper-technical manner, but instead employ a realistic and commonsense approach

5
    Leon is the only legal authority Defendant cites in the Motion and Supplement.


                                           6
     Case 1:14-cr-00344-AT-CMS Document 421 Filed 07/06/15 Page 7 of 12




to encourage engagement of the warrant process and to promote the high level of

deference traditionally given to magistrates in their probable cause determinations.

Illinois v. Gates, 462 U.S. 213, 236-37 (1983) (citing United States v. Ventresca,

380 U.S. 102, 109 (1965)); see also United States v. Miller, 24 F.3d 1357, 1361

(11th Cir. 1994). “[T]he resolution of doubtful or marginal cases in this area

should be largely determined by the preference to be accorded to warrants.”

Upton, 466 U.S. at 734.

      It is the totality of the circumstances that determines whether probable cause

exists to support a search warrant, and the question is whether there is a fair

probability that contraband or evidence will be found at a particular location. See

United States v. Noriega, 676 F.3d 1252, 1261 (11th Cir. 2012); Gonzalez, 940

F.2d at 1419. “[P]robable cause deals ‘with probabilities. These are not technical;

they are the factual and practical considerations of everyday life on which

reasonable and prudent men, not legal technicians, act.’” Gates, 462 U.S. at 241

(quoting Brinegar v. United States, 338 U.S. 160, 175 (1949)). When issuing a

warrant, a magistrate judge must “make a practical, common-sense decision

whether, given all the circumstances set forth in the affidavit before him, including

the ‘veracity’ and ‘basis of knowledge’ of persons supplying hearsay information,

there is a fair probability that contraband or evidence of a crime will be found in a


                                          7
     Case 1:14-cr-00344-AT-CMS Document 421 Filed 07/06/15 Page 8 of 12




particular place.” Id. at 232. “The Fourth Amendment, by its terms, requires

particularity in the warrant, not in the supporting documents.” Groh v. Ramirez,

540 U.S. 551, 557 (2004). Cross-referencing is, however, permitted, and the

Eleventh Circuit has held that a warrant can be made sufficiently particular by

physically attaching supporting affidavits. United States v. Weinstein, 762 F.2d

1522, 1531-32 (11th Cir. 1985).

      The Court has reviewed the application for the Search Warrant and the

Affidavit submitted by Agent Meador in support of the warrant application. Agent

Meador is an experienced law enforcement officer with specific training in the

operation and investigation of criminal enterprises and wire tap investigations. His

experience includes how criminal operations communicate, store information and

convene for meetings. (Meador Aff. ¶ 2). He has specific experience in

investigating stolen US Treasury check schemes. (Id. ¶ 8). The Search Warrant,

together with the Affidavit, is particular and detailed. The Affidavit presents a

description of the Premises, who resides there, including Defendant, the nature and

duration of the investigation and that it involves the theft of US Treasury checks.

(Id. ¶¶ 4-8). The Affidavit describes how similar check theft schemes work,

including by the use of false identification documents and detailed recordkeeping,

and that the Premises was a central location for operation of the scheme. (Id. ¶¶ 8,


                                          8
     Case 1:14-cr-00344-AT-CMS Document 421 Filed 07/06/15 Page 9 of 12




10-18). The Affidavit also presents information showing the ongoing nature of the

check scheme, including specific telephone intercepts, from April through August

2014, regarding current check cashing activities. (Id. ¶¶ 14-18).

      The kinds of information expected to be present on the Premises and their

form was detailed. What was expected to be seized, and why, was described

specifically. (Id. ¶¶ 22-27). That firearms were expected to be discovered at the

Premises was stated and the basis for expecting their presence explained. (Id.

¶¶ 19-21). A list of property for which authorization to seize was requested also

was provided. (Id. at Ex. B).

      Defendant claims that it was not reasonable to allow a search of the entire

Premises because Defendant lived there with others. The argument is unfounded.

The information presented to Magistrate Judge Walker in the Affidavit was that the

Premises generally was used in connection with check theft operations. Meetings

were conducted there and runners delivered check sale proceeds to the Premises.

(Id. ¶ 12). Two of the leaders of the organization—Defendant and Hussain

Abdullah—lived on the Premises. (Id. ¶ 9). False identification used to cash

checks fraudulently were returned to and stored on the Premises. (Id. ¶ 13). It was

reasonable not to limit the scope of the search of the Premises. Defendant’s

objection to the authorization of items, most notably computer evidence and


                                         9
    Case 1:14-cr-00344-AT-CMS Document 421 Filed 07/06/15 Page 10 of 12




electronic media, to be seized is discredited by the delivery of the information to

the Premises and information in the Affidavit regarding the maintenance and

storage of information by operations like the one investigated here. (Id. ¶¶ 8-9, 13,

18, 22-27). Magistrate Judge Walker was presented with significant information

supporting seizure of the items listed in the Affidavit, including computers and

electronic media.

      Considering the totality of the circumstances and the evidence presented to

Magistrate Judge Walker, the Court finds there was a fair probability the evidence

listed in the Search Warrant would be found at the Premises and the Search

Warrant and its scope was proper. See Noriega, 676 F.3d at 1261. The Court finds

there was probable cause to conduct the search described in the Search Warrant.

             2.     Leon and Good Faith

      Even if the Search Warrant was not sufficiently particular—which it was—

the fruits of the search would be admissible under the good-faith exception. See

Leon, 468 U.S. 897. “[T]he exclusionary rule should not be applied to exclude

evidence seized pursuant to a defective search warrant if the officers conducting

the search acted in objectively reasonable reliance on the warrant and the warrant

was issued by a detached and neutral magistrate.” United States v. Maxwell, 920

F.2d 1028, 1034 (D.C. Cir. 1990). The good-faith exception does not apply


                                         10
     Case 1:14-cr-00344-AT-CMS Document 421 Filed 07/06/15 Page 11 of 12




“where, depending upon the circumstances of the particular case, a warrant is so

facially deficient—i.e., in failing to particularize the place to be searched or the

things to be seized—that the executing officers cannot reasonably presume it to be

valid.” United States v. Martin, 297 F.3d 1308, 1313 (11th Cir. 2002). The

question is whether the search was conducted within the scope of the items to be

seized. United States v. Stefonek, 179 F.3d 1030, 1035-36 (7th Cir. 1999). In

other words, where the violation of the particularity requirement “can be shown to

have had no causal relation to the scope of the search or to the quantity or character

of evidence seized, suppression of the evidence is not a proper sanction.” Id.

      Here, the items to be seized were specific and listed in the Search Warrant,

and the items seized aligned with those authorized to be seized. Thus, even if the

warrant was not particular enough—which it was—the good faith exception

applies and the items seized are not required to be suppressed. The Court finds

that the Magistrate Judge did not commit plain error in recommending that the

Motion be denied.

             3.     Hearing request

      Defendant does not present any facts or argument to support that a hearing

should be required in this case, and the Court’s review of the record shows a




                                          11
       Case 1:14-cr-00344-AT-CMS Document 421 Filed 07/06/15 Page 12 of 12




hearing is not required and would serve no purpose. Defendant’s request for an

evidentiary hearing is denied.

III.    CONCLUSION

        For the reasons stated above,

        IT IS HEREBY ORDERED that Magistrate Judge E. Clayton Scofield’s

Report and Recommendation [373] is ADOPTED.

        IT IS FURTHER ORDERED that Defendant Hudhayfah Abdullah’s

Motion to Suppress Evidence Seized from Search of Residence [246] and

Supplement to Motion to Suppress Evidence Seized from Search of Residence

[290] are DENIED.



        SO ORDERED this 6th day of July, 2015.



                                   _______________________________
                                   WILLIAM S. DUFFEY, JR.
                                   UNITED STATES DISTRICT JUDGE




                                        12
